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                                             #1113



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
vs.                                              )   CRIMINAL NO. 05-30086-21-GPM
                                                 )
DOROTHY WEIRICH,                                 )
                                                 )
                      Defendant.                 )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Dorothy Weirich to Counts 1 and

7 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, June 26, 2006, at 10:30 a.m.

       IT IS SO ORDERED.

       DATED: 4/28/2006



                                                     s/ G. Patrick Murphy
                                                     G. PATRICK MURPHY
                                                     Chief United States District Judge
